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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 1 of 21

-Gregory R. Kaighn

Janis Kaighn

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Prescott, AZ 86301

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email:. greg.kaighn@gmail.com

Plaintiffs in pro per

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UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Janis Kaighn, Gregory R. Kaighn

Plaintiffs,
Vs.

United States of America, State of
Arizona, City of Prescott, Yavapai
County, Prescott City Court, Sheila Polk,
Yavapai County Attorney in her official
capacity, Jon Paladini, Prescott City
Attorney in his official capacity, Glenn
Savona, Prescott Deputy City Attorney in
his official capacity, Andy Reinhardt,
City of Prescott Deputy Police Chief in
his official capacity,

Defendants.

CASE NO: | CV-16-08079-PCT-SPL -

PLAINTIFFS MOTION(S) FOR
PRELIMINARY INJUNCTIONS,
PERMANENT INJUNCTIONS, AND
DECLARATIONS OF JUDGEMENT
OF UNCONSTITUTIONALITY OF
FEDERAL AND ARIZONA
STATUTES; TEMPORARY
RESTRAINING ORDERS,
PRELIMINARY AND PERMANENT
INJUNCTIONS STOPPING ALL
CRIMINAL PROSECUTIONS OF
PLAINTIFF(S); MEMORANDUM OF
POINTS AND AUTHORITIES

Oral Argument Requested By
Telephone (Local Rule 7.2 (f) and (h))

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 2 of 21

PLAINTIFFS MOTION(S) FOR PRELIMINARY AND PERMANENT INJUNCTIONS,
DECLARATIONS OF JUDGEMENT

COMES NOW Plaintiffs Janis Kaighn and Gregory R. Kaighn who hereby move this
Court pursuant to Federal Rule of Civil Procedure 65 for Preliminary (and Permanent)
Injunctions, and Declarations of Judgement as hereinafter set forth. This Motion is based on this
notice, the Memorandum of Points and Authorities filed herewith, the Declaration of Janis
Kaighn filed herewith including exhibits attached thereto, the Verified Complaint filed in this
case, and Plaintiffs Ex Parte Application for Temporary Restraining Orders.

1. Plaintiffs seek Temporary Restraining Orders, Preliminary and Permanent Injunctions
stopping the pending criminal charges from being prosecuted. Plaintiffs will suffer irreparable
harm under circumstances where an injunction is necessary to protect plaintiffs Federal rights.
Plaintiffs further seek Orders preventing any future criminal prosecutions by these defendants.

2. Plaintiffs seek Preliminary Injunctions, Permanent Injunctions and Declarations of
Judgement that the Federal Statutes at issue are Unconstitutional as a matter of law.

3. Plaintiffs seek Preliminary Injunctions, Permanent Injunctions and Declarations of
Judgement that the Arizona Statutes at issue are Unconstitutional as a matter of law.

4. Pursuant to the Voting Rights Act, Plaintiffs seek the immediate appointment of
Federal Observers and the taking of complete jurisdiction over the entire State of Arizona
elections process by the Federal Courts.

5. For such other and further relief as may be just and proper under the circumstances.

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Janis Kaighn

Dated: April 25, 2016

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 3 of 21

MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION .

The world has seen this ‘bad movie script’ before. The similarities between the
rise to power of Adolph Hitler and the reaction of the United States government to the
September 11, 2001 terrorist attacks have been obvious to many Americans. On
February 27, 1933 the Reichstag Building, which housed the German Parliament, was
destroyed in a massive fire caused by an inside job terrorist attack. Hitler blamed
Communists and used “The Reichstag Fire Decree” to suspend the civil liberties of the
German people. Dozens of people were arrested based on the exact notion of “terrorism”
that became part of the American vocabulary after September 11, 2001.

Adolph Hitler sought enhanced powers from the German Parliament. On March
24, 1933 Hitler passed the “German Enabling Act” with a four year ‘sunset’ clause.
Hitler promised that the “enhanced powers” would only be used in the event of a National
Emergency. This exact scenario occurred again in the United States with respect to the
passage of the Patriot Act. The American people were promised that the “worst case
scenario” would never occur. The law was supposedly “necessary” to protect the
American people from foreign terrorists. The “sunset” clause in the Patriot Act was a
fraud.

The criminals that hijacked the United States and Arizona after 2001 followed the
Hitler ‘playbook.’ very closely. The formula includes false elections, false prosecutions,
trumped up charges, control of the legal profession, and inside job terror attacks.
Presidential Directive 5.1 is the American equivalent of Adolph Hitler’s enhanced powers
under the German Enabling Act.

Presidential Directive 51 derives it’s statutory authority from the National
Emergencies Act. The attempt at a “legalized dictatorship” will not survive a
constitutional challenge. The United States Constitution is stronger than the terrorists
and gives individual rights to American citizens like the plaintiffs. Adolph Hitler made

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 4 of 21

no secret about his need for total control over German society. Conversely, the 911
terrorists “hide in the shadows” and are engaging in a “silent coup” that is selectively
enforced throughout the United States. The 911 terrorists lack the courage to tell the
American people the truth about Martial Law in America. The American people will
laugh at the concept of a silent coup in 2016 and will demand justice. This coup will end
with public disclosure and public scrutiny.

The false prosecutions initiated in Arizona by Maricopa County Sheriff Joe Arpaio
and former Maricopa County Attorney Andrew Thomas are well documented and a
matter of public record. Both need to be arrested and charged in the interests of public
safety. Andrew Thomas and others in his office were disbarred by the Arizona Supreme
Court. The “911 Conspiracy” is not limited to the September 11, 2001 terrorist attacks.
The “911 Conspiracy” includes the on going ‘coup’ formalized in Presidential Directive
51. A long standing legal concept about conspiracies is “in for a dime, in for a dollar.”
Anyone who joins a conspiracy is liable for the acts of the entire conspiracy. The issue is
not limited to whether Andrew Thomas or Joe Arpaio were part of the original conspiracy
to destroy the World Trade Center. Both ‘public servants’ joined a conspiracy to
overthrow the duly elected government of the United States of America.

This case proves that the politically motivated vendettas and false prosecutions are
not over. The shameful conduct of Yavapai County officials and City of Prescott officials
literally chooses the side of Adolph Hitler’s Nazi Germany over the people the live, work,

and pay taxes in Prescott Arizona. A City Attorney mailing a Court issued summons is

| disgustingly transparent. That stunt has undoubtedly been used on other people and is

now exposed. All of the Yavapai County and City of Prescott officials involved in this
matter should be arrested, prosecuted, and removed from office pursuant to Arizona
statute.

This case demonstrates just how wise the Founding Fathers of this Country were in

drafting the United States Constitution. The same legal document that established our

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 5 of 21

Country over 200 years ago is the basis upon which two private citizens restore our
Republic by enforcing their own individual rights
If. Legal Standard For Injunctive Relief

In Winter v. Natural Resources Defense Council, Inc. 555 U.S. 7 (2008), the
United States Supreme Court clarified or reiterated the requirements for a preliminary
injunction. A plaintiff must show that (1) he or she is likely to prevail on the merits, (2)
he or she is likely to suffer irreparable harm in the absence of preliminary relief; (3) that
the equities balance in plaintiffs favor; and (4) that an injunction is in the public interest.
This case very easily meets the required standards.

Plaintiffs will clearly prevail with respect to the outrageously corrupt criminal
charges that were filed. The United States is indisputably in a “secret state of Martial
Law” that cannot possibly be constitutional. Arizona’s conduct with respect to elections
is beyond outrageous. Splitting the ballot is un American. Plaintiffs and every member
of the general public face irreparable harm if Martial Law continues. Plaintiff Gregory R.
Kaighn will suffer irreparable harm if the pending criminal charges are not enjoined. The
equities clearly balance in plaintiffs’ favor; the defendants are engaged in a scheme to
overthrow the duly elected government of the United States. For the same reason, it is
most certainly in the public interest that injunctions issue.

II. The Roles Of Congress and the President In The American Democracy

The duly elected government of the United States has been ‘hijacked’ and stolen
through a series of outrageous criminal ‘legal manipulations’ of Federal Law. The last
four Presidential elections have been nullified. Unlike the forms of government in many
other countries, the United States Constitution has always been intended to limit the
powers of government, particularly the Federal Government.

A similar theme exists throughout the Federal Constitutional issues raised in this
case. The statutes at issue are generally unconstitutional because Congress never had the
legal authority to pass these kinds of laws. The authority of the United States Congress is

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 6 of 21

set forth in Article I Section 8 of the Constitution. This provision both defines and limits
the authority of Congress. Simply stated “if it’s not in Article I Section 8, then Congress
can’t do it.”

The only potential “wiggle room” is found in the ‘necessary and proper’ clause at
the end of Article 1, Section 8. The ‘necessary and proper’ clause permits Congress to
pass legislation that is related to other permissible and constitutional legislation within the
scope of Congress’ powers. For that clause to be applicable Congress must have been
acting within the scope of it’s legal authority in passing the related legislation. In the
present case, the legislation at issue was never within the Constitutional limits of
Congressional power and therefore cannot be saved by the ‘necessary and proper’ clause.

Article 1, Section 8 of the United States Constitution states as follows:

The Congress shall have power to lay and collect taxes,
duties, imposts and excises, to pay the debts and provide for
the common defense and general welfare of the United States;
but all duties, imposts and excises shall be uniform
throughout the United States;

To borrow money on the credit of the United States;

To regulate commerce with foreign nations, and among the
several states, and with the Indian tribes;

To establish a uniform rule of naturalization, and uniform
laws on the subject of bankruptcies throughout the United
tates;

To coin money, regulate the value thereof, and of foreign
coin, and fix the standard of weights and measures;

To provide for the punishment of counterfeiting the securities
and current coin of the United States;

To establish post offices and post roads;

To promote the progress of science and useful arts, by
securing for limited times to authors and inventors the
exclusive right to their respective writings and discoveries;
To constitute tribunals inferior to the Supreme Court;

To define and punish piracies and felonies committed on the
high seas, and offenses against the law of nations;

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 7 of 21

To declare war, grant letters of marque and reprisal, and make
rules concerning captures on land and water;

To raise and support armies, but no appropriation of money to
that use shall be for a longer term than two years;

To provide and maintain a navy;

To make rules for the government and regulation of the land
and naval forces;

To provide for calling forth the militia to execute the laws of
the union, suppress insurrections and repel invasions;

To provide for organizing, arming, and disciplining, the
militia, and for governing such part of them as may be
employed in the service of the United States, reserving to the
states respectively, the appointment of the officers, and the
authority of training the militia according to the discipline
prescribed by Congress;

To exercise exclusive legislation in all cases whatsoever, over
such District (not exceeding ten miles square) as may, by
cession of particular states, and the acceptance of Congress,
become the seat of the government of the United States, and
to exercise like authority over all places purchased by the
consent of the legislature of the state in which the same shall
be, for the erection of forts, magazines, arsenals, dockyards,
and other needful buildings;--And

To make all laws which shall be necessary and proper for
carrying into execution the foregoing powers, and all other
owers vested by this Constitution in the government of the
nited States, or in any department or officer thereof.
These are the limits of Congressional authority in the United States of America.
The Congress has no legal authority to grant “enhanced powers” to the President of the
United States. The United States Constitution specifically prevents the Congress from
“passing any law it chooses.”
The Constitutional powers and authority of the President of the United States are
derived from Article II of the Constitution. The powers of the President are both defined
and limited by Article II of the Constitution. In the American Democracy, the President

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does not “make the laws.” The Congress is the legislative branch of government and it

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 8 of 21

“makes the laws.” The President is the ‘commander in chief’ of the armed forces but
there is no language in Article II of the Constitution that gives any President the right to
enact laws.

The Congress and the President cannot exchange their various powers with each
other. The Constitution is the result of a “three way bargain” between the Federal
Government, the States, and the people of the United States. Both the President and the
Congress are bound by the limits of the original agreement as set forth in the United
States Constitution. The purpose of the Constitution is to limit the government not the
people.

IV. The Terrorism Related Post 911 Legislation is Unconstitutional

A. Presidential Directive 51

Presidential Directive 51 has been very well hidden from the general public. The
same “directive” is also known as the “Continuity of Government Plan” and is also
referred to as “Executive Orders 51 and 20.” This lawsuit seeks a Temporary Restraining
Order, Preliminary and Permanent Injunctions and a Declaration of Judgement as to
every possible name ascribed to Martial Law in America.

Presidential Directive 51 contains no specifics about what our government is
actually doing. The American people are left with the vague and constitutionally
inadequate language of a hidden coup d’etat. Presidential Directive 51 defines an
“Enduring Constitutional Government” as a cooperative effort among the executive,
legislative, and judicial branches of government. THAT LANGUAGE ESTABLISHES
MARTIAL LAW IN AMERICA DISGUISED IN LEGALESE.

Presidential Directive 51 was signed on May 4, 2007 and allegedly published on
May 9, 2007. The only “national emergency” that existed in May of 2007 was the
imminent election of Democrats. Presidential Directive 51 is an attempt to replicate
Adolph Hitler’s “legalized power grab” from 1933. Using the word “constitutional” in

Presidential Directive 51 does not make this “directive” lawful or Constitutional in any

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 9 of 21

respect. This outrageous power grab emasculates any legitimate purpose for any
Continuity of Government plan. The concept of Continuity of Government arises from a
decades old concern of President Reagan that a nuclear attack could wipe out the entire
government all at the same time. Those are NOT the facts that the United States faces or
has faced. The entire program is an abuse of power that is used to target political dissent.
This is a disguised coup d’etat.

Presidential Directive 51 violates Article II of the Constitution. The President
does not have the legal authority to enact this “directive.” Neither President Bush nor
President Obama have ever had the constitutional authority to extend a ‘silent’ martial
law decree. Any purported grant of authority by Congress violates Article I, Section 8 of
the Constitution. Presidential Directive 51 violates the privileges and immunities clause,
the equal protection clause, and the due process clause of the 5“ Amendment to the
Constitution. The application of Presidential Directive 51 in Arizona violates the 14"
Amendment to the Constitution for all of the same reasons.

There is no possible Constitutional basis for Martial Law in America.

B. The National Emergencies Act

The National Emergencies Act was enacted in 1976 and is found at 50 U.S.C. §
1601-1651. 50 U.S.C. §§ 1621 and 1622 are the statutory basis for Presidential Directive
51 as well as the statutory basis upon which President’s Bush and Obama have continued
the Martial Law decree. The National Emergencies Act is Unconstitutional on it’s face
and as applied to the facts.

50 U.S.C. § 1621 purports to grant the President the authority to declare any
national emergency. Article J, Section 8 of the Constitution does not grant Congress the
authority to give the President the unilateral right to declare a national emergency.
Similarly, Article II of the Constitution does not give the President the power to enact any
laws related to any “national emergency.”

50 U.S.C. 1622 is even more problematic. The termination methods for a declared

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 10 of 21

national emergency are a farce. First, the statute is “backwards.” It calls for a declared
emergency to remain in effect forever unless terminated. A permanent emergency is an
oxymoron. A joint resolution of Congress is impossible in the United States at this point.
President Bush was forced to sign Presidential Directive 51 because of the imminent
election of Democrats and President Obama has been forced to continue the hidden state
of Martial Law in America. Nice try, but this is exactly what the Founding Fathers
intended to prevent and did prevent in drafting the Constitution.

No one person not even a President can unilaterally declare Martial Law in
America forever. The Constitution vests the legislative authority with the Congress.
Neither the President nor the Congress could ever possibly “suspend” the Constitution.
The Constitution creates the Federal Government, and the suspension of the Constitution
terminates all rights of the Federal Government. Suspension of the Constitution is
impossible. The National Emergencies Act is unconstitutional on it’s face and as applied.

There is no national emergency and the American people have already endured far too
many years of this corruption.

C. The Patriot Act

The Patriot Act is found at 50 U.S.C. 1801-1885c. The chapter name of the
legislation is “Foreign Intelligence Surveillance.” There is nothing at all about the Patriot
Act that authorizes it’s use on private American citizen who happen to be either
Democrats or anti war or both. This has been an outrageous abuse of power built on a
criminal set of lies. Article I, Section 8 does not grant Congress the authority to pass the

Patriot Act. Article II of the Constitution does not grant any President the legal right to

implement the Patriot Act.

The scare tactics are exposed. Osama bin Laden could never have attacked
America from a cave in Afghanistan. Immediately after the September 11, 2001 attacks,
President Bush blamed “Islamic terrorists” just like Adolph Hitler blamed “the

Communists” for the Reichstag Fire. (Plaintiffs again note that President Bush was

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 11 of 21

forced and is personally a victim of this criminal enterprise.) The idea of terrorist attacks

on government buildings is right out of the “Hitler playbook.” Congress cannot suspend

the Constitution for any reason and certainly not as part of a conspiracy to overthrow the
duly elected government of the United States.

The Patriot Act violates most of the Constitution. It violates the first amendment
in terms of freedom of speech. It violates the fourth, fifth, sixth, and fourteenth
amendments to the Constitution with respect to due process, search and seizure, equal
protection, privileges and immunities, and right to counsel There is no use of the Patriot
Act against private citizens that is lawful or constitutional. The use of the Patriot Act as a
part of a larger plan to subvert the Constitution and overthrow the duly elected
government of the United States is also unconstitutional as a matter of law.

D. The Homeland Security Act

The Homeland Security Act is found at Title 6 of the United States Code, 6 U.S.C.
§§ 101-1405. The legislation was enacted in response to an “inside job terrorist” and is
part of a larger plan to overthrow the duly elected government of the United States. The
last four Presidential elections have been nullified. Congress did not have the
constitutional authority to pass the Homeland Security Act and there is no provision of
Article I, Section 8 of the Constitution that can “save” this legislation. The ‘necessary
and proper’ clause cannot apply since there is no underlying legal or constitutional basis
for the legislation. Moreover, there is no “related” legislation that falls within the
legitimate constitutional authority of Congress.

E. The Federal Reserve Act of 1913

The Federal Reserve Act is found at 12 U.S.C §§ 221-521. The Federal Reserve
Act and the Federal Reserve System is the single biggest source of the structural problems
faced by the United States. Congress NEVER had the authority to pass the Federal
Reserve Act. Article I, Section 8 does not give the Congress the power to delegate

control over the money supply to others. The Constitution does not permit Congress to

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 12 of 21

create a private corporation to control our money supply.

The language in Article I, Section 8 granting Congress the authority to borrow
money on the credit of the United States does not permit the creation of a privately owned
“central bank.” Congress is also permitted to “coin money” but there is no provision of
the Constitution that permits the delegation of that responsibility to a private corporation
or anyone else. The ‘necessary and proper’ clause is inapplicable. It is neither
‘necessary’ nor ‘proper’ for Congress to delegate the authority to coin money to a
privately held banking conglomerate. For these reasons, the Federal Reserve Act is
unconstitutional on it’s face.

The Ninth Circuit Court of Appeals has already correctly ruled that the Federal
Reserve is a private corporation. Lewis v. United States, 680 F.2d 1239 (1982) arose in
the context of a Federal Tort Claim but the factual analysis of the Ninth Circuit of
Appeals is applicable to the present facts. The Federal Reserve is a private corporation
based on the facts related to how it operates. The Lewis Court addressed the legislative
history of the Federal Reserve and the lack of control retained by Congress. The Lewis
Court examined the operations of the boards of directors and the daily operations of the
banks themselves. The fact that the Federal Reserve regulates it’s member banks does
not transform the banks or the Federal Reserve into public agencies. The Lewis Court did
everything except hold the statutes unconstitutional. The issue of Constitutionality was
not present in Lewis, and plaintiffs therefore raise the identical factual and legal
arguments in this case.

The Federal Reserve Act is also unconstitutional as applied to the facts of this
case. The Federal Reserve as a 100 year history of financing both sides of the Wars that
have entangled the American people. The Federal Reserve financed the 911 attacks on
American soil. The Federal Reserve “nuked” New York City. The Federal Reserve is the
major engineer of this conspiracy to overthrow the duly elected government of the United

States. The Federal Reserve is a “killing machine” that has killed every politician that has

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page.13 of 21

ever dared to challenge it’s constitutional legitimacy. International Bankers have been
involved in every Presidential assassination in American history. Abraham Lincoln was
the first President known to be assassinated by the International Bankers.

Andrew Jackson, our seventh President, fought the International Bankers, and
survived the first Presidential assassination attempt in American history on January 30,
1935. President James A. Garfield opposed the International Bankers and was
assassinated on September 19, 1881, six months after taking office. Three other
Presidents died under suspicious circumstances during the 1840's. President William
Henry Harrison, President Zachary Taylor, and President James K. Polk all died of
mysterious stomach related aliments.

President William McKinley opposed the International Bankers and was
assassinated on September 6, 1901. On June 4, 1963 President Kennedy signed
Executive Order 1110. Executive Order 1110 has never been repealed to our knowledge.
President Kennedy gave the Department of Treasury the power to issue silver certificates.
President Kennedy gave the United States the ability to print it’s own money shortly
before his assassination.

The history of the Federal Reserve and the International Bankers that own it is
very grim. If the Federal Reserve were constitutional in any respect, then America would
not have a “killing field” full of Presidents.

V. The Arizona Statutes At Issue Are Unconstitutional As A Matter Of Law

A. Election And Voting Issues

In Arizona et. al. v. The Inter Tribal Council of Arizona, Inc. et. al. 133 S. Ct.
2247 (2013), the United States Supreme Court specifically held that Arizona’s proof of
citizenship requirement in order to register to vote is unconstitutional as applied the
Federal Voter Registration forms authorized by law. The Supreme Court invited the State
of Arizona to apply for a formal waiver as other states have done. The astonishing
response of the State of Arizona to an adverse ruling from the United States Supreme

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 14 of 21

Court was to “split the ballot” such that persons registering to vote in Arizona using the
Federal forms could not vote in state level elections.

The very act of “splitting the ballot” violates the rule of law set forth by the
Supreme Court in the very same case. Arizona has intentionally created it’s own
quagmire. The issue now before this Court is the unconstitutionality of the State of
Arizona voter registration forms and related statutes. Splitting the ballot violates the
privileges and immunities clause, the due process clause, and the equal protection clause
of the 14th Amendment to the Constitution. “Splitting the ballot” renders any
requirement of proof of citizenship to register to vote unconstitutional. Arizona cannot
create separate classes of voters with different legal rights. Arizona Revised Statute
16-166F is unconstitional as a matter of law.

Proposition 200 is the ballot initiative approved in the disputed 2004 election that
approved the conept of Voter I.D. at the polls. Proposition 200 also contained the “proof
of citizenship” requirement discussed above. Arizona Revised Statute 16-579 is the law
purportedly passed by the voters. Subsection A.1. is directly on point. The issue for
many voters on election day is not limited to the Photo I.D. itself. Arizona recognizes
that not all voters have Photo identification as specified. A.R.S. 16-579 allows alternative
identification in the form of “two different items that contain the name and address of
the elector that reasonably appear to be the same as the name and address in the
precinct register.”

The State of Arizona has actually implemented a different set of laws than
contained in A.R.S. 16-579 and has abused the “pre clearance” of the Voting Rights Act
for many years in the process. Arizona Revised Statutes 16-452 has historically been
part of the pre clearance process of the Voting Rights Act. Any changes that were
formerly subject to pre clearance were to be submitted to the Department of Justice for
approval. Arizona used this process to implement the far more restrictive set of voting
requirements. The actual list of alternative identification is found in a 400 page Secretary

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Case 3:16-cv-08079-SPL Document3 Filed 04/25/16 Page 15 of 21

of State’s Election Procedures Manual. A true and correct copy of the 2014 version is
Exhibit 1 to this brief.

Exhibit 1 is NOT what Proposition 200 provided. This entire “scheme” is
intentionally confusing and unconstitutional as a matter of law. It violates the equal
protection clause and the privileges and immunities clauses of the 14 Amendment.
Arizona election officials have brazenly changed State law through an ‘illegal back door’
in order to suppress the vote. Both statutes and the Secretary of State’s Election
Procedures Manual violate the Voting Rights Act. A.R.S.16-579 and 16-452 are both
unconstitutional as a matter of law.

B. Supremacy Clause and Separation of Powers Issues

A common theme exists among several of the constitutional challenges plaintiffs
raise with respect to Arizona law. There are two Arizona Constitutional amendments at
issue and one Arizona Statute.

Arizona Constitution Article 30 violates the United States Constitution. The
Supreme Court decision in Obergefell v. Hodges, 576 U.S.__, 135 S. Ct. 2584 (2015)
resolved the issue of ‘gay marriage’ nationwide. The Arizona Constitutional
provision fails as matter of law.

Arizona Constitution Article 2, Section 3 is unconstitutional as a matter of law.
The Arizona “sovereignty” amendment misunderstands the nature of the “three way
bargain” made at statehood in 1912. The State of Arizona derives it’s limited
constitutional authority from a “three way deal” executed in 1912 when Arizona became a
state. The Arizona Constitution cannot be amended to give Arizona any authority over
the Federal Government. The voters of Arizona cannot go back on the underlying deal
that created statehood. The issue of “who checks whose balance” is part of that original
deal. This not a proper subject of legislation, state constitutional amendments, or ballot
initiatives. The individual states never owned the full sovereignty, the people own the

underlying sovereignty. A proper distinction between the people of the state of Arizona

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 16 of 21

and the legal entity the “State of Arizona” is the key to a proper analysis.

The same analysis applies to the last remaining piece of the “papers please” law.
Arizona Revised Statute 11-1051(B) is unconstitutional both on it’s face and as applied. The
“papers please’ law is federally preempted and violates the separation of powers clauses.
In this regard, plaintiffs legal argument has not been previously raised as far as we know.
Any constitutional issue related to sovereignty, federal pre emption, or separation of
powers was effectively decided at statehood. These issues cannot be “changed” by the
State of Arizona. The Constitution is certainly subject to further interpretation by the
Courts; and federal law is subject to further amendment by Congress. The State of
Arizona has no role in such matters and cannot “make changes.”

The people of Arizona have a contract that granted the Federal Government
exclusive authority over immigration enforcement. The original contract in a
representative democracy conveyed the right to the federal government and federal courts
to determine legal and constitutional issues. The people of the State of Arizona already
decided these issues 1912 when the contract was made at statehood.. Separation of
powers has already been decided and is not up for negotiation or legislation. The
Supremacy Clause and separation of powers are part of the inherent bargain that goes
with being one of the fifty states.

VI. Arizona’s Mischief Triggers The Full Protections Of The Voting Rights Act

The Voting Rights Act, 52 U.S.C.§ 10101¢ a)(1) is the federal statute defining

voting rights. Simply stated “all citizens of the United States qualified to vote shall be
entitled to vote without distinct of race, .. . .any constitution, law, custom, usage, or

regulation of any State.” Qualified to vote means eligible to register. 52 U.S.C. § 10101

(a)(2)(a) requires that voting laws must be uniform throughout the State. “Splitting the
ballot” because of a legal dispute with the highest court in the land and punishing
innocent voters in the process, is a clear violation of the Voting Rights Act. Arizona’s

malicious conduct triggers Federal Observers under the Voting Rights Act and a take over

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 17 of 21

by the Federal Government of Arizona’s election process. 52 U.S.C. §10101C permits

injunctive and preventative relief. Plaintiff Janis Kaighn has not yet registered to vote.
VII. Plaintiffs Are Entitled To Immediate Injunctive Relief Barring Criminal
Charges

Both plaintiffs meet the legal standards to prospectively enjoin future criminal
charges. Plaintiff Gregory R. Kaighn meets the legal standards a Temporary Restraining
Order and Preliminary Injunction stopping the pending criminals charges. The fact that
such frivolous and petty charges have been filed shows that virtually everything that we
say in this case is true. The material allegations are beyond dispute.

In order to obtain the equitable relief sought, plaintiffs must fall within an
exception to the “Anti Injunction Act,” 28 U.S.C. § 2283. Section 2283 states: “A court
of the United States may not grant an injunction to stay proceedings in a State court
except as expressly authorized by Act of Congress, or where necessary in aid of its
jurisdiction, or to protect or effectuate its judgments.”

In Mitchum v. Foster, 407 U.S. 225 (1972), the United States Supreme Court
considered the Anti Injunction Act in connection with a Civil Rights Claim brought under
42 U.S.C. § 1983. The Court expressly held that a claim under the Civil Rights Act falls
within an exception to the Anti Injunction Act. There is no legal barrier to injunctive
relief.

The Mitchum Court resolved the apparent conflict between the Anti Injunction Act
and the Supreme Court decision in Younger v. Harris, 401 U.S. 37 (1971) and approved
the Younger standard. A plaintiffs seeking an injunction against pending state criminal
proceedings must show that a state court defense will not adequately protect his federal

rights because of bad faith, harassment, or other unusual circumstance. The Mitchum

‘noted “this Court long ago recognized that federal injunctive relief against a state court

proceeding can, in some circumstances, be essential to prevent great, immediate, and

irreparable loss of a person’s constitutional rights.” (citations not repeated)

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Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 18 of 21

The pending criminal charges are less than petty, completely false, and politically
motivated. The police report, Exhibit 2 to the Declaration of Janis Kaighn shows a phone
number for plaintiff of 928-830-2040. That phone number has been out of service for
eight years and was previously used for politics. Neither plaintiff has had any prior
contact with the City of Prescott police. There is no question that “the old cell phone
number” came from the elections process. There is no question that these politically
moti8vated charges violate plaintiffs constitutional and civil rights. Defendants conduct
violates the due process, equal protection, and privileges and immunities clauses
applicable through the 14" Amendment to the Constitution of the United States.

The problem is not defending against frivolous charges or allegations. The
problem is being physically harmed or killed either in Court or on the way. On July 19,
2015, a taser was pulled on plaintiff by a Sheriffs Deputy during oral argument in what
should have been a routine law and motion matter in Sacramento, California. The
purpose of these petty misdemeanor and corruptly false charges IS NOT to cause a
criminal record. The purpose IS NOT to cost plaintiffs substantial money. The purpose
IS NOT a maximum six month jail sentence and $2500 fine. The purpose is to stop this
lawsuit. The purpose is to cause bodily harm. The purpose is to continue to use
prosecutorial power for political vendettas. The pending criminal case must be stopped
immediately in order to avoid irreparable harm. Wells Fargo knows that the Federal

Reserve Act is unconstitutional. Respectfully submitted,

Dated: April 25, 2016
By (Mp
Gregory R. Kaighn ‘ kag
Janis Kaighn oe

17

Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 19 of 21

Exhibit A, from the 2014 version of the Secretary of State Election Procedures
Manual

The elector shall present acceptable identification that:

1. bears the name, address, and photograph of the elector (see
List 1 below) or

2. two different forms of identification that bear the name and
address of the elector (see List 2 below) or

3. one form of acceptable photo identification with one form of
non-photo identification that bears the name and address of the
elector (see List 3 below)

An elector who does not provide acceptable proof of identification
shall not be issued a regular ballot, but shall receive a conditional
provisional ballot. If the elector identifies himself or herself as a
Native American, the elector shall be processed under the section
of this procedure titled "Identification Requirements for Native
American Electors." All others shall be processed under the
section of this procedure titled "Conditional Provisional Ballot for
No Identification.”

Acceptable proof of identification includes but is not limited to the
sources listed below. Other forms of identification not on this list must
be deemed acceptable by the county election official in charge of
elections and must establish the identity of the elector in accordance
with the requirements of

List 1 - Acceptable Forms of Identification with Photograph, Name, and
Address of the Elector

Valid Arizona driver license

Valid Arizona nonoperating identification license

Tribal enrollment card or other form of tribal identification

Valid United States federal, state, or local government issued
identification

An identification is "valid" unless it can be determined on its face that
it has expired.

List 2 - Acceptable Forms of Identification Without a Photograph
that Bear the Name and Address of the Elector (Two Different
Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 20 of 21

Forms Required; May Be Presented in Paper and/or Electronic —
Format)

Utility bill of the elector that is dated within 90 days of the date
of the election. A utility bill may be for electric, gas, water, solid
waste, sewer, telephone, cellular phone, or cable television
Bank or credit union statement that is dated within 90 days of
the date of the election

Valid Arizona Vehicle Registration

Indian census card

Property tax statement of the elector's residence

Tribal enrollment card or other form of tribal identification

Arizona vehicle insurance card, Recorder's Certificate,

Valid United States federal, state, or local government issued
identification, including a voter registration card issued by the
County Recorder

Any mailing to the elector marked “Official Election Material”
An identification is "valid" unless it can be determined on its face
that it has expired. All items from List 2 may be presented to the
poll workers in electronic format, including on a smart phone or
tablet.

List 3 - Acceptable Forms of Identification, One Identification
with Name and Photo of the Elector Accompanied By One Non-
Photo Identification with Name and Address

Any valid photo identification from List 1 in which the address
does not reasonably match the precinct register accompanied by a
non-photo identification from List 2 in which the address does
reasonably match the precinct register

U.S. Passport without address and one valid item from List 2
U.S. Military identification without address and one valid item
from

List 2

Arizona vehicle insurance card

Recorder's Certificate

Valid United States federal, state, or local government issued
identification,
Case 3:16-cv-08079-SPL Document 3 Filed 04/25/16 Page 21 of 21

including a voter registration card issued by the County Recorder
Any mailing to the elector marked “Official Election Material”

An identification is "valid" unless it can be determined on its face that
it has expired. All items from List 2 may be presented to the poll
workers in electronic format, including on a smart phone or tablet.

List 3 - Acceptable Forms of Identification, One Identification
with Name and Photo of the Elector Accompanied By One Non-
Photo Identification with Name and Address

Any valid photo identification from List 1 in which the address
does not reasonably match the precinct register accompanied by a
non-photo identification from List 2 in which the address does
reasonably match the precinct register

U.S. Passport without address and one valid item from List 2.
U.S. Military identification without address and one valid item
from List 2 An identification is “valid” unless it can be
determined on its face that it has expired.
